438 F.2d 663
    UNITED STATES of America, Appellant,v.John Albert LIGUORI, Appellee.UNITED STATES of America, Appellant,v.Jose GONZALEZ PEREZ and Francisco Rivas, Appellees.UNITED STATES of America, Appellant,v.Israel VALLEJO, Petitioner-Appellee.
    No. 350.
    No. 403.
    No. 404.
    No. 405.
    Docket 35117.
    Docket 34830.
    Docket 34834.
    Docket 34972.
    United States Court of Appeals, Second Circuit.
    Argued December 4, 1970.
    Decided February 16, 1971.
    
      Jay S. Horowitz, Asst. U. S. Atty., New York City (Ross Sandler, Asst. U. S. Atty., and Whitney North Seymour, Jr., U. S. Atty. S. D. of New York, New York City, on the brief), for appellant in U. S. A. v. Liguori.
      David A. Luttinger, Asst. U. S. Atty., New York City (Walter J. Higgins, Jr. and Charles B. Updike, Asst. U. S. Attys. and Whitney North Seymour, Jr., U. S. Atty. S. D. of New York, New York City, on the briefs), for appellant in U. S. A. v. Perez and Rivas and U. S. A. v. Vallejo.
      Phylis Skloot Bamberger, The Legal Aid Society, New York City (Milton Adler, The Legal Aid Society, New York City, on the brief), for appellee, John Albert Liguori.
      Gretchen White Oberman, New York City (diSuvero, Meyers, Oberman &amp; Steel, New York City, on the brief), for appellees, Jose Gonzalez Perez, Francisco Rivas and Israel Vallejo.
      Before MEDINA, FRIENDLY and SMITH, Circuit Judges.
      MEDINA, Circuit Judge:
    
    
      1
      In these four appeals by the United States from orders vacating the convictions of John Albert Liguori, Jose Gonzalez Perez, Francisco Rivas and Israel Vallejo, involving, respectively, possession of small quantities of cocaine and marihuana, and in one instance possession of 48 pounds of marihuana, there is presented for the first time in this Circuit the question whether the Supreme Court's decisions in Leary v. United States, 395 U.S. 6, 89 S.Ct. 1532, 23 L.Ed.2d 57 (1969) and Turner v. United States, 396 U.S. 398, 90 S.Ct. 642, 24 L.Ed.2d 610 (1970), which held unconstitutional the presumptions contained in 21 U.S.C. Sections 174 and 176a and 26 U.S.C. Section 4704(a), are to be applied retrospectively to convictions attacked collaterally under 28 U.S.C. Section 2255.1 The District Judge in each case vacated the judgment and sentence, holding that the Leary and Turner decisions applied.2 For the reasons stated in this opinion, we affirm.
    
    I.
    
      2
      Appellee Liguori was convicted in July of 1966 by Judge Weinfeld, sitting without a jury, for: (1) receiving, concealing, selling and transporting a half-grain of cocaine hydrochloride, in violation of 21 U.S.C. Sections 173 and 174; (2) purchasing, selling, dispensing and distributing cocaine hydrochloride not in or from the original stamped package, in violation of 26 U.S.C. Sections 4701, 4703, 4704(a), 4771(a) and 7237(a); and (3) receiving, concealing, purchasing, selling and transporting a half-ounce of marihuana, in violation of 21 U.S.C. Section 176a. The Government proved at the trial that Liguori mailed a carton from New York City containing the cocaine and marihuana to a friend in Florida in June of 1964. But no direct evidence showing that the marihuana and cocaine were illegally imported or that appellee knew they were illegally imported was introduced at the trial. Liguori made no objection, however, to the use of the presumptions covering those elements of the crimes charged. This Court affirmed the conviction and five-year sentence after an appeal. United States v. Liguori, 373 F.2d 304 (2d Cir. 1967). Liguori filed a motion to vacate his sentence and conviction under 28 U.S.C. Section 2255 after the Leary and Turner decisions were announced. Judge Weinfeld decided that Leary and Turner were to be given complete retrospectivity and vacated the judgment and sentence as to the first and third counts, the sentence on the second count having already been served.
    
    
      3
      Appellees Perez and Rivas were also convicted in July of 1966, for receiving and concealing 48 pounds of marihuana, in violation of 21 U.S.C. Section 176a, and of conspiracy to do so. They, along with two other men, had been arrested after agreeing to sell the marihuana to a federal agent in New York City. Again at the trial no direct evidence of the illegal importation of the marihuana or appellees' knowledge thereof was introduced. The court instructed the jury on the basis of the presumption, which charge was excepted to by appellees. Perez received a ten-year sentence as a second offender and did not appeal his conviction, and Rivas's appeal from a five-year sentence was dismissed for lack of prosecution. Appellees filed separate motions to vacate their convictions under 28 U.S.C. Section 2255 after the decision in Leary was handed down, and Judge Palmieri granted the motions, holding that Leary applied.
    
    
      4
      Appellee Vallejo was convicted in March of 1966 for having purchased, sold, dispensed and distributed 3.22 grams of cocaine other than in or from the original stamped package, in violation of 26 U.S.C. Sections 4701, 4703, 4704(a), 4771(a) and 7237(a), and for receiving, concealing and facilitating the transportation of the cocaine, in violation of 21 U.S.C. Sections 173 and 174. Vallejo and another man were apprehended in New York City in September of 1964 after a federal narcotics agent, while walking toward them, observed them dropping tinfoil envelopes to the pavement. Here also the Government introduced no evidence as to the illegal importation of the cocaine, appellee's knowledge of the illegal importation, or that he had purchased, sold, dispensed or distributed the cocaine in other than the original stamped package. Similarly, the trial judge incorporated the presumptions in his charge to the jury, and appellee made no objection. Appellee received a ten-year sentence as a second offender and his conviction was affirmed from the bench on appeal. Vallejo filed his motion to vacate the conviction under 28 U.S.C. Section 2255 after Turner was decided, and Judge MacMahon granted the motion, holding that Turner applied retrospectively.
    
    
      5
      Although appellees Liguori and Vallejo did not question the use of the presumptions at trial, and apparently none of the appellees raised the issue on appeal, we hold that they are not therefore barred from raising it now. At the time of the trials only one case, Erwing v. United States, 323 F.2d 674 (9th Cir. 1963), had held the presumption of 21 U.S.C. Section 174 unconstitutional with respect to cocaine, but no other circuit followed this holding and the decision was not binding in this Circuit. Other than Erwing, the decisions solidly sustained the presumptions against constitutional attack. United States v. Coke, 364 F.2d 484 (2d Cir. 1966), cert. denied, 386 U.S. 918, 87 S.Ct. 877, 17 L.Ed. 2d 789 (1967) (21 U.S.C. Section 174); United States v. Gibson, 310 F.2d 79 (2d Cir. 1962) (21 U.S.C. Section 176a); Jones v. United States, 377 F.2d 742 (8th Cir.), cert. denied, 389 U.S. 885, 88 S.Ct. 157, 19 L.Ed.2d 183 (1967) (26 U.S.C. Section 4704(a)). Under the circumstances the failure to make what was then a patently futile objection is not a bar. United States v. Lopez, 414 F.2d 272 (2d Cir. 1969); United States v. Scott, 425 F.2d 55 (9th Cir. 1970 in banc); Martone v. United States, 435 F.2d 609 (1st Cir. 1970).
    
    II.
    
      6
      In Leary v. United States, 395 U.S. 6, 89 S.Ct. 1532, 23 L.Ed.2d 57 (1969), the Supreme Court held that the presumption in 21 U.S.C. Section 176a,3 that allowed a jury to find illegal importation of marihuana and defendant's knowledge thereof solely from possession, violated the due process clause of the Fifth Amendment. Using the "rational connection"4 test for judging the constitutionality of statutory presumptions, the Court could not say with "substantial assurance" that a person in possession of marihuana was more likely than not to know that it was illegally imported, as it found that "a significant percentage of domestically consumed marihuana may not have been imported at all * * *." So the presumption of a defendant's knowledge of the illegal importation was struck down. The Court applied the same standard in invalidating the presumption of illegal importation and knowledge of illegal importation, contained in 21 U.S.C. Section 174,5 with respect to possession of cocaine in Turner v. United States, 396 U.S. 398, 90 S.Ct. 642, 24 L.Ed.2d 610 (1970), but upheld the statute with respect to possession of heroin and opium. The Court found that while all heroin and opium is illegally imported, coca leaves are legally imported for processing into cocaine and that more cocaine is legally produced in the United States than is smuggled into the country. Turner also struck down, with respect to the cocaine then involved, the presumption of 26 U.S.C. Section 4704(a),6 which made the absence of the appropriate tax stamps prima facie evidence of purchasing, selling, dispensing and distributing a narcotic drug not in or from the original stamped package by the person proved to have been in possession of the drug. While the Court found the presumption rational as to heroin and opium, it held that the small amount of cocaine involved (14.68 grams of a cocaine and sugar mix) would not allow an inference of dealing in the drug, and the amount of theft of legal, stamped cocaine made the statutory presumption infirm as to purchasing or dealing in unstamped cocaine. As we find no significant difference between the rationale of Leary and that of Turner, at least as applied to small amounts of cocaine, we shall not distinguish between them in the ensuing discussion.
    
    III.
    A.
    
      7
      The Government argues that since the Supreme Court relied heavily on statistical data compiled in 1967 and 1968 in deciding that the statutory presumptions were irrational and therefore unconstitutional, the Court did not decide their constitutionality as to previous years. So, the argument continues, these decisions are limited to the years in which they were rendered and should not be applied to convictions that became final in prior years. Since the Supreme Court only decided that the presumptions deprived defendants of due process of law when viewed in the light of the contemporary statistics, leaving open the question of whether or not the presumptions were void from the time of their enactment,7 the Government goes on to claim that this Court should not hold Leary and Turner applicable to these appellees, at least not before remanding these cases to the District Court for a hearing as to the validity of the presumptions in the years involved. As we are persuaded that this is not an accurate description of the findings in Leary and Turner, this argument must fail.
    
    
      8
      Dr. Timothy Leary was arrested for transporting marihuana in December of 1965 and tried in March of 1966, about the same time that appellees Perez and Rivas were arrested and tried. In Leary the Supreme Court decided the rationality of the Section 176a presumption as to Leary's knowledge of illegal importation, which meant his knowledge at the time of his arrest. Since the Court found the presumption invalid as to Dr. Leary's knowledge of illegal importation in December of 1965, it must also have been without a rational connection as to appellees Perez's and Rivas's knowledge in March of 1966. Moreover, in Leary, the Court referred to testimony and reports on smuggling and domestic production of marihuana presented at hearings held in 1955 and 1956 by the House and Senate committees on the bill containing the Section 176a presumption. It also consulted reports made by the Bureau of Narcotics between 1956 and 1967 on the amount of marihuana smuggled into the United States and the quantity of domestically grown marihuana that was discovered and destroyed by law enforcement agencies. The holding in Turner8 rested heavily on the findings made in Erwing v. United States, 323 F.2d 674 (9th Cir. 1963). There the Ninth Circuit found no evidence as to any importation of cocaine hydrochloride into the United States, legally or illegally, and declared the Section 174 presumption invalid as to cocaine possessed by the defendant in 1959. There was also testimony in Erwing that almost no cocaine had been imported into the United States, legally or illegally, before 1959. The Court supplemented the findings in Erwing with statistical data on cocaine smuggling and domestic cocaine production compiled by the Bureau of Narcotics in 1967, and held that even though there is a substantial amount of smuggling of cocaine into the United States now, still much more cocaine is lawfully produced here. We conclude that Leary and Turner held the statutory presumptions to be void for the periods here at issue.
    
    B.
    
      9
      It is the Government's second principal contention that raises what we consider to be the most interesting question on these appeals. It is insisted that the three tests of Linkletter v. Walker, 381 U.S. 618, 85 S.Ct. 1731, 14 L.Ed.2d 601 (1965) were not properly applied and balanced, that undue emphasis was placed by the courts below on the "purpose" of the decisions, to "correct a flaw in the fact-finding process," and insufficient consideration given to the countervailing elements of "reliance" by law enforcement officials and the serious disruption of the administration of criminal justice that it is claimed would follow a ruling that the declaration of invalidity of these presumptions is to be given retrospective effect. It is asserted that each and every one of the new constitutional rules of criminal substantive law and procedure that has been made either prospective or retrospective has removed a substantial impediment to a fair fact-finding process; and, in effect, that the Linkletter tests come down to a "matter of degree" and a "question of probabilities" that are something in the nature of divinations, too insubstantial in these cases to warrant a holding giving the invalidation of the presumptions retrospective effect. These arguments cannot be lightly dismissed as utterly frivolous. As shown in the Appendix to this opinion, which is a "Summary of Supreme Court Decisions After Linkletter on Question Whether New Rulings Holding Certain Criminal Procedures Unconstitutional Should Be Applied Retrospectively," some of these decisions on the subject of retrospectivity were made contemporaneously with the announcement of the new rule, some were made in brief Per Curiams containing a very limited, if any, statement of reasons,9 and others in more or less lengthy opinions, often with one or more dissents. The spate of opinions by various courts10 and articles in law reviews11 discussing, criticizing and applying the Linkletter tests, may indicate that it is time to take a new look.
    
    
      10
      At least we may echo the statement of Mr. Justice Harlan in his dissent in Desist v. United States, 394 U.S. 244, 89 S.Ct. 1030, 22 L.Ed.2d 248 (1969), at p. 260, 89 S.Ct. at p. 1040, that "the retroactivity doctrine is still in a developing stage." The confusion generated on the oral argument of these cases and in the briefs by the earnest efforts of able counsel, on the one hand, to persuade us that the application of the three-prong composite Linkletter test requires us to reverse the orders below, and, on the other hand, that its application compels us to reach the opposite result, has suggested that we seek the guidance of some more simple and less complicated approach.
    
    
      11
      We think these cases now before us can be disposed of by applying the simple and universal rule that a judgment in a criminal case in which the prosecution has offered and the record discloses no proof whatever of various elements of the crime charged has a fatal constitutional taint for lack of due process of law. As we said in our in banc decision in United States ex rel. Angelet v. Fay, 333 F.2d 12, 16 (2d Cir. 1964), aff'd, 381 U.S. 654, 85 S.Ct. 1750, 14 L.Ed.2d 623 (1965), the question of whether to grant retrospectivity in this type of case should be decided with "precisely the same operations of the judicial process as does the development of a body of decisional law in any other field." We must examine the principles involved in the constitutional ruling under consideration and decide whether, upon "considerations of convenience, of utility, and of the deepest sentiments of justice,"12 the judgments of conviction were so "tainted by some fundamental unfairness within the orbit of constitutional law," United States ex rel. Angelet v. Fay, supra at 21, that we cannot allow them to stand.
    
    
      12
      Leary and Turner support the basic principle that a proper finding of guilt cannot be based on evidence that is rationally insufficient to support that finding. Thompson v. City of Louisville, 362 U.S. 199, 80 S.Ct. 624, 4 L.Ed.2d 654 (1960). In the cases before us, as in Leary and Turner, the Government relied on a presumption that was without reason in fact to prove a material element of the crime, so that these convictions were tainted by a total lack of proof as to that element. These cases contain not only "some fundamental unfairness," therefore, but the worst type of fundamental unfairness, since the Government introduced no proof at all in any of them to sustain a finding that the respective appellees had knowledge of the illegal importation of the marihuana or cocaine, or that appellee Vallejo purchased cocaine in other than the original stamped package, all principal elements in the crimes charged. Even though appellees may have been in possession of the cocaine or marihuana, for a federal law to have been violated there must have been, as the statutes then read, illegally imported cocaine or marihuana. So we hold that these convictions were properly vacated on the authority of Leary and Turner and we affirm the orders appealed from.
    
    
      13
      We decide these cases on the narrow basis just above stated. We express no opinion with respect to other cases, where guilty pleas have been the basis for judgments of conviction for similar violations of the narcotics laws or where some evidence, however slight, has been received on the subject of the importation of marihuana or cocaine and knowledge thereof by the defendant.
    
    
      14
      The orders are affirmed.
    
    
      15
                                    APPENDIX

  Summary of Supreme Court Decisions After Linkletter on Question Whether
New Rulings Holding Certain Criminal Procedures Unconstitutional Should
Be Applied Retrospectively.

                                 Linkletter v. Walker
                       381 U.S. 618, 85 S.Ct. 1731, 14 L.Ed.2d 601
                                      June 7, 1965
___________________________________________________________________________
New Ruling on     Evidence obtained by the state in violation of the Fourth
Constitutional    Amendment is to be excluded from all state criminal trials.
Criminal          Mapp v. Ohio, 367 U.S. 643, 81 S.Ct. 1684, 6 L.Ed.2d 1081
Procedure         (1961).
___________________________________________________________________________
Retrospective
___________________________________________________________________________
Prospective                                 X
___________________________________________________________________________
Court Opinion                               X (7-2)
___________________________________________________________________________
Per Curiam
___________________________________________________________________________
Purpose of the    Enforcement of the Fourth Amendment rights by deterring
New Ruling        illegal action of the police; is not advanced by retrospective
                  application.
___________________________________________________________________________
Reliance by Law   States relied on rule of Wolf v. Colorado, 338 U.S. 25,
Enforcement       69 S.Ct. 1359, 93 L.Ed. 1782 (1949) against the constitutional
Officials         demand of the exclusionary rule even though they knew
                  their actions violated the Fourth Amendment; Court had
                  approved of Wolf holding until Mapp decided.
___________________________________________________________________________
Impact on the     Retrospective application would tax the administration of
Administration    justice "to the utmost" in the 24 states without the exclusionary
of Justice        rule, as they must hold hearings on excludability
                  of evidence.
___________________________________________________________________________
                              Tehan v. United States ex rel. Shott
                             382 U.S. 406, 86 S.Ct. 459, 15 L.Ed.2d 453
                                         January 19, 1966
___________________________________________________________________________
New Ruling on     Adverse comment by a prosecutor or judge on a defendant's
Constitutional    failure to testify in a state criminal trial violates the Fifth
Criminal          Amendment privilege against self-incrimination.
Procedure         Griffin v. California, 380 U.S. 609, 85 S.Ct. 1229, 14 L.Ed.2d
                  106 (1965).
___________________________________________________________________________
Retrospective
___________________________________________________________________________
Prospective                                 X
___________________________________________________________________________
Court Opinion                               X (5-2)
    
    
      16
      ___________________________________________________________________________
Per Curiam
___________________________________________________________________________
Purpose of the    Upholds the whole complex of values that the privilege
New Ruling        against self-incrimination represents; i. e. preserves the
                  integrity of the judicial system, which is adversary, not inquisitorial,
                  in nature, and respect for the inviolability of
                  the individual human being, by discouraging the courts
                  from penalizing the use of the privilege against self-incrimination.
___________________________________________________________________________
Reliance by Law   States relied on the old rule for 56 years, constantly reaffirmed
Enforcement       by the Court.
Officials
___________________________________________________________________________
Impact on the     Would be "grave indeed" on the six states that had allowed
Administration    such comment, a "devastating" impact because retrospectivity
of Justice        would void all convictions where the defendant did
                  not testify.
___________________________________________________________________________
                                   Johnson v. New Jersey
                          384 U.S. 719, 86 S.Ct. 1772, 16 L.Ed.2d 882
                                        June 20, 1966
___________________________________________________________________________
New Ruling on     Any statement of a defendant elicited by the police during
Constitutional    an interrogation may not be used against him at trial if
Criminal          the investigation had focused on a particular suspect who
Procedure         was in custody and the suspect had requested and been denied
                  an opportunity to consult with his lawyer and the
                  police had not effectively warned him of his right to remain
                  silent.

                  Escobedo v. Illinois, 378 U.S. 478, 84 S.Ct. 1758, 12 L.Ed.2d
                  977 (1964).

                  Any statement elicited by the police stemming from an in-custody
                  interrogation may not be used against a defendant
                  at trial unless he was told that he had a right to remain
                  silent, that anything he said would be used against him,
                  that he had a right to consult with a lawyer and have the
                  lawyer with him during the interrogation, and that a lawyer
                  would be appointed to represent him if he could not
                  afford one. Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602,
                  16 L.Ed.2d 694 (1966).
___________________________________________________________________________
Retrospective
___________________________________________________________________________
Prospective                                 X
___________________________________________________________________________
Court Opinion                               X (3-4-2)
___________________________________________________________________________
Per Curiam
___________________________________________________________________________
Purpose of the    Guarantees the full effectuation of the privilege against
New Ruling        self-incrimination by assuring that a person under interrogation
                  responds only with intelligent understanding
                  of the right to remain silent and the consequences of his
                  answering.
___________________________________________________________________________
Reliance by Law   States "fairly relied" during interrogations on prior cases
Enforcement       that did not condemn the entire process of in-custody interrogation.
Officials
___________________________________________________________________________
Impact on the     Retrospectivity would "seriously disrupt" the administration
Administration    of criminal laws in all states because these are new
of Justice        warnings, causing the retrial or release of many defendants
                  found guilty on the basis of trustworthy evidence.
    
    
      17
      ___________________________________________________________________________
                                    Stovall v. Denno
                        388 U.S. 293, 87 S.Ct. 1967, 18 L.Ed.2d 1199
                                       June 12, 1967
___________________________________________________________________________
New Ruling on     Law enforcement officials cannot exhibit an accused to
Constitutional    witnesses before trial for identification purposes without
Criminal          giving notice to and in the absence of counsel.
Procedure         United States v. Wade, 388 U.S. 218, 87 S.Ct. 1926, 18 L.Ed.
                  2d 1149 (1967) and Gilbert v. California, 388 U.S. 263, 87
                  S.Ct. 1951, 18 L.Ed.2d 1178 (1967).
___________________________________________________________________________
Retrospective
___________________________________________________________________________
Prospective                                    X
___________________________________________________________________________
Court Opinion                                  X (4-2-3)
___________________________________________________________________________
Per Curiam
___________________________________________________________________________
Purpose of the    Minimize the possibility of a conviction based on a mistaken
New Ruling        identification by preventing any unfairness at a pretrial
                  confrontation, thereby assuring a meaningful examination
                  of the identification witness's testimony at trial, by having
                  counsel present at the line-up; this assures the integrity
                  and reliability of our judicial system.
___________________________________________________________________________
Reliance by Law   Was "fair" and total reliance by all the states and the
Enforcement       federal government on the old rule; there was no fore-shadowing
Officials         of the new rule.
___________________________________________________________________________
Impact on the     Retrospective application would "seriously disrupt" the
Administration    administration of justice in the entire country as it would
of Justice        require hearings to determine whether the identification
                  evidence was tainted or not, or whether it was harmless
                  error.
___________________________________________________________________________
                                  Witherspoon v. Illinois
                    391 U.S. 510, 523 n. 22, 88 S.Ct. 1770, 20 L.Ed.2d 776
                                         June 3, 1968
___________________________________________________________________________
New Ruling on     Where a jury in a state criminal case has two distinct
Constitutional    functions, to determine the guilt or innocence of the accused
Criminal          and then to determine whether the punishment is to
Procedure         be imprisonment or death, the state cannot exclude veniremen
                  simply because they voiced general objections to capital
                  punishment or expressed conscientious or religious
                  scruples against its infliction.
                  Witherspoon v. Illinois, 391 U.S. 510, 88 S.Ct. 1770, 20
                  L.Ed.2d 776 (1968).
___________________________________________________________________________
Retrospective                                  X
___________________________________________________________________________
Prospective
___________________________________________________________________________
Court Opinion                                  X (5-1-3)
___________________________________________________________________________
Per Curiam
___________________________________________________________________________
Purpose of the    "[t]he jury-selection standards employed here necessarily
New Ruling        undermined `the very integrity of the * * * process'
                  that decided the petitioner's fate * * *."
___________________________________________________________________________
Reliance by Law   The Court implied that there had been reliance by the
Enforcement       state.
Officials
___________________________________________________________________________
Impact on the     The Court implied that there would be some impact on the
Administration    administration of justice in the states employing this jury-selection
of Justice        standard.
    
    
      18
      ___________________________________________________________________________
                                    Roberts v. Russell
                       392 U.S. 293, 88 S.Ct. 1921, 20 L.Ed.2d 1100
                                       June 10, 1968
___________________________________________________________________________
New Ruling on     The admission at a joint trial of a defendant's extrajudicial
Constitutional    confession which implicated a co-defendant violated
Criminal          the co-defendant's right of cross-examination secured to
Procedure         him by the Sixth Amendment.
                  Bruton v. United States, 391 U.S. 123, 88 S.Ct. 1620, 20
                  L.Ed.2d 476 (1968).
___________________________________________________________________________
Retrospective                                 X
___________________________________________________________________________
Prospective
___________________________________________________________________________
Court Opinion
___________________________________________________________________________
Per Curiam                                    X (6-1-2)
___________________________________________________________________________
Purpose of the    Despite cautionary instructions by the judge to the jury
New Ruling        on the use of the confession, its admission resulted in a
                  "serious flaw" in the fact-finding process.
___________________________________________________________________________
Reliance by Law   This element was "not persuasive" since the old rule announced
Enforcement       in Delli Paoli v. United States, 352 U.S. 232, 77
Officials         S.Ct. 294, 1 L.Ed.2d 278 (1957) was under attack since its
                  inception.
___________________________________________________________________________
Impact on the     Even if this factor may be "significant," there is a serious
Administration    risk that the issue of guilt or innocence may not have been
of Justice        reliably determined.
___________________________________________________________________________
                                     DeStefano v. Woods
                          392 U.S. 631, 88 S.Ct. 2093, 20 L.Ed.2d 1308
                                         June 17, 1968
___________________________________________________________________________
New Ruling on     A state cannot deny a request for a jury trial in a serious
Constitutional    criminal case under the Sixth Amendment.
Criminal          Duncan v. Louisiana, 391 U.S. 145, 88 S.Ct. 1444, 20 L.Ed.
Procedure         2d 491 (1968).
                  The right to a jury trial under the Sixth Amendment extends
                  to trials for serious cases of criminal contempt.
                  Bloom v. Illinois, 391 U.S. 194, 88 S.Ct. 1477, 20 L.Ed.2d
                  522 (1968).
___________________________________________________________________________
Retrospective
___________________________________________________________________________
Prospective                                    X
___________________________________________________________________________
Court Opinion
___________________________________________________________________________
Per Curiam                                     X (5-2-2)
___________________________________________________________________________
Purpose of the    Duncan: States must respect the right to a jury trial because
New Ruling        in the context of the institutions and practices by
                  which we adopt and apply our criminal laws, the right to
                  a jury trial tends to prevent arbitrariness and repression;
                  these values are not served by requiring the retrial of all
                  persons convicted by procedures not consistent with the
                  Sixth Amendment.
                  Bloom: A contempt trial is more fairly tried by a jury
                  since the judge witnessed or suffered the alleged contempt
                  and suggested prosecution for it.
___________________________________________________________________________
Reliance by Law   Duncan: The states relied "in good faith" on past opinions
Enforcement       of the Court that held the Sixth Amendment right to a
Officials         jury trial was not applicable to the states.
                  Bloom: Reliance was more justified here than in the pre-Duncan
                  situation.
    
    
      19
      ___________________________________________________________________________
Impact on the     Duncan: The impact would be "significant" in all states
Administration    not until now accepting the Sixth Amendment guarantee,
of Justice        since all convictions for serious crimes would be in jeopardy.
                  Bloom: The adverse effects of invalidating all the cases of
                  serious contempt convictions would be "substantial."
___________________________________________________________________________
                                     McConnell v. Rhay
                            393 U.S. 2, 89 S.Ct. 32, 21 L.Ed.2d 2
                                       October 14, 1968
___________________________________________________________________________
New Ruling on     The Sixth Amendment requires that counsel be afforded
Constitutional    to felony defendants in a proceeding for revocation of probation
Criminal          and imposition of deferred sentencing.
Procedure         Mempa v. Rhay, 389 U.S. 128, 88 S.Ct. 254, 19 L.Ed.2d 336
                  (1967).
___________________________________________________________________________
Retrospective                                  X
___________________________________________________________________________
Prospective
___________________________________________________________________________
Court Opinion
___________________________________________________________________________
Per Curiam                                     X
___________________________________________________________________________
Purpose of the    The right to counsel goes to the "very integrity of the fact-finding
New Ruling        process."
___________________________________________________________________________
Reliance by Law   No comment.
Enforcement
Officials
___________________________________________________________________________
Impact on the     No comment.
Administration
of Justice
___________________________________________________________________________
                               Arsenault v. Massachusetts
                            393 U.S. 5, 89 S.Ct. 35, 21 L.Ed.2d 5
                                      October 14, 1968
___________________________________________________________________________
New Ruling on     The right to counsel extends to a preliminary hearing
Constitutional    where the defendant pleaded guilty and that guilty plea
Criminal          was put into evidence later at trial after it was retracted.
Procedure         White v. Maryland, 373 U.S. 59, 83 S.Ct. 1050, 10 L.Ed.2d
                  193 (1963).
___________________________________________________________________________
Retrospective                                  X
___________________________________________________________________________
Prospective
___________________________________________________________________________
Court Opinion
___________________________________________________________________________
Per Curiam                                     X
___________________________________________________________________________
Purpose of the    The denial of the right to counsel must almost invariably
New Ruling        deny a fair trial, since only the presence of counsel could
                  have enabled this defendant to know all the defenses available
                  to him and to plead intelligently.
___________________________________________________________________________
Reliance by Law   No comment.
Enforcement
Officials
___________________________________________________________________________
Impact on the     No comment.
Administration
of Justice
    
    
      20
      ___________________________________________________________________________
                                    Berger v. California
                          393 U.S. 314, 89 S.Ct. 540, 21 L.Ed.2d 508
                                     January 13, 1969
___________________________________________________________________________
New Ruling on     The absence of a witness from the jurisdiction would not
Constitutional    justify the use at trial of his testimony at the pretrial
Criminal          hearing unless the state made a good faith effort to secure
Procedure         the witness's presence.
                  Barber v. Page, 390 U.S. 719, 88 S.Ct. 1318, 20 L.Ed.2d 255
                  (1968).
___________________________________________________________________________
Retrospective                                  X
___________________________________________________________________________
Prospective
___________________________________________________________________________
Court Opinion
___________________________________________________________________________
Per Curiam                                     X
___________________________________________________________________________
Purpose of the    One of the important objects of the right to confrontation
New Ruling        is to guarantee that the fact finder had an adequate opportunity
                  to assess the credibility of the witness.
___________________________________________________________________________
Reliance by Law   The claim of reliance by the states was "most unpersuasive."
Enforcement       Barber was "clearly foreshadowed, if not preordained,"
Officials         by Pointer v. Texas, 380 U.S. 400, 85 S.Ct. 1065, 13
                  L.Ed.2d 923 (1965).
___________________________________________________________________________
Impact on the     No comment.
Administration
of Justice
___________________________________________________________________________
                                  Desist v. United States
                         394 U.S. 244, 89 S.Ct. 1030, 22 L.Ed.2d 248
                                       March 24, 1969
___________________________________________________________________________
New Ruling on     The evidence obtained from an electronic surveillance of a
Constitutional    public telephone booth cannot be introduced at trial if
Criminal          obtained without a search warrant in violation of the
Procedure         Fourth Amendment.
                  Katz v. United States, 389 U.S. 347, 88 S.Ct. 507, 19 L.Ed.2d
                  576 (1967).
___________________________________________________________________________
Retrospective
___________________________________________________________________________
Prospective                                    X
___________________________________________________________________________
Court Opinion                                  X (4-1-3)
___________________________________________________________________________
Per Curiam
___________________________________________________________________________
Purpose of the    Same as in Linkletter since this is an exclusionary rule
New Ruling        designed to deter illegal acts by the police.
___________________________________________________________________________
Reliance by Law   The states had "fully justified" reliance, since it was a
Enforcement       "clear break with the past," however clearly the ruling was
Officials         foreshadowed by Silverman v. United States, 365 U.S. 505,
                  81 S.Ct. 679, 5 L.Ed.2d 734 (1961), because this was the
                  first time that the Court explicitly overruled Olmstead v.
                  United States, 277 U.S. 438, 48 S.Ct. 564, 72 L.Ed. 944
                  (1928) and Goldman v. United States, 316 U.S. 129, 62 S.Ct.
                  993, 86 L.Ed. 1322 (1942).
___________________________________________________________________________
Impact on the     There would be a "substantial" number of state cases
Administration    affected, causing a "weighty burden" in determining
of Justice        whether tainted evidence had been used.
    
    
      21
      ___________________________________________________________________________
                                 North Carolina v. Pearce
                         395 U.S. 711, 89 S.Ct. 2072, 23 L.Ed.2d 656
                                        June 23, 1969
___________________________________________________________________________
New Ruling on     The Fifth Amendment guarantee against double jeopardy
Constitutional    is enforceable against the states through the Fourteenth
Criminal          Amendment.
Procedure         Benton v. Maryland, 395 U.S. 784, 89 S.Ct. 2056, 23 L.Ed.2d
                  707 (1969).
___________________________________________________________________________
Retrospective                                  X
___________________________________________________________________________
Prospective
___________________________________________________________________________
Court Opinion                                  X (4-3-2)
___________________________________________________________________________
Per Curiam
___________________________________________________________________________
Purpose of the    No comment.
New Ruling
___________________________________________________________________________
Reliance by Law   No comment.
Enforcement
Officials
___________________________________________________________________________
Impact on the     No comment.
Administration
of Justice
___________________________________________________________________________
    
    
      
        Notes:
      
      
        1
         This Court has already held that Leary v. United States, 395 U.S. 6, 89 S.Ct. 1532, 23 L.Ed.2d 57 (1969) and Turner v. United States, 396 U.S. 398, 90 S.Ct. 642, 24 L.Ed.2d 610 (1970) applied to cases on direct appeal even if the trial took place before the dates of those decisions, May 19, 1969 and January 20, 1970, respectively. United States v. Lopez, 414 F.2d 272 (2d Cir. 1969) (Leary); United States v. Shay, 426 F.2d 287 (2d Cir. 1970) (Turner); United States v. Jenkins, 427 F.2d 149 (2d Cir. 1970) (Turner); United States v. Vasquez, 429 F.2d 615 (2d Cir. 1970) (Turner).
        Other circuits have considered this question and have accorded Leary and Turner full retrospectivity; see United States v. Scott, 425 F.2d 55 (9th Cir. 1970) (in banc) (Leary); Casados v. United States, 425 F.2d 723 (5th Cir. 1970) (Leary) (collateral attack); Martone v. United States, 435 F.2d 609 (1st Cir. 1970) (Turner) (collateral attack); United States v. Cross, 432 F.2d 431 (4th Cir. 1970) (Turner).
      
      
        2
         Liguori v. United States, 314 F.Supp. 1184 (S.D.N.Y.1970) (Weinfeld, J.); Perez v. United States, 315 F.Supp. 972 (S.D.N.Y.1970) (Palmieri, J.); Vallejo v. United States, 312 F.Supp. 244 (S.D. N.Y.1970) (MacMahon, J.)
      
      
        3
         21 U.S.C. Section 176a (1964), reads in relevant part:
        Notwithstanding any other provision of law, whoever, knowingly, with intent to defraud the United States, imports or brings into the United States marihuana contrary to law, or smuggles or clandestinely introduces into the United States marihuana which should have been invoiced, or receives, conceals, buys, sells, or in any manner facilitates the transportation, concealment, or sale of such marihuana after being imported or brought in, knowing the same to have been imported or brought into the United States contrary to law, or whoever conspires to do any of the foregoing acts, shall be imprisoned * * *.
        Whenever on trial for a violation of this subsection, the defendant is shown to have or to have had the marihuana in his possession, such possession shall be deemed sufficient evidence to authorize conviction unless the defendant explains his possession to the satisfaction of the jury.
      
      
        4
         See Tot v. United States, 319 U.S. 463, 63 S.Ct. 1241, 87 L.Ed. 1519 (1943), which describes the test as:
        a statutory presumption cannot be sustained if there be no rational connection between the fact proved and the ultimate fact presumed, if the inference of the one from proof of the other is arbitrary because of lack of connection between the two in common experience. 319 U.S. at 467-468, 63 S.Ct. at 1245. (Footnote omitted.)
        See also United States v. Gainey, 380 U.S. 63, 85 S.Ct. 754, 13 L.Ed.2d 658 (1965) and United States v. Romano, 382 U.S. 136, 86 S.Ct. 279, 15 L.Ed.2d 210 (1965).
      
      
        5
         21 U.S.C. Section 174 (1964) reads in relevant part:
        Whoever fraudulently or knowingly imports or brings any narcotic drug into the United States or any territory under its control or jurisdiction, contrary to law, or receives, conceals, buys, sells, or in any manner facilitates the transportation, concealment, or sale of any such narcotic drug after being imported or brought in, knowing the same to have been imported or brought into the United States contrary to law, or conspires to commit any of such acts in violation of the laws of the United States, shall be imprisoned * * *.
        Whenever on trial for a violation of this section the defendant is shown to have or to have had possession of the narcotic drug, such possession shall be deemed sufficient evidence to authorize conviction unless the defendant explains the possession to the satisfaction of the jury.
      
      
        6
         26 U.S.C. Section 4704(a) (1964) reads:
        It shall be unlawful for any person to purchase, sell, dispense, or distribute narcotic drugs except in the original stamped package or from the original stamped package; and the absence of appropriate taxpaid stamps from narcotic drugs shall be prima facie evidence of a violation of this subsection by the person in whose possession the same may be found.
      
      
        7
         21 U.S.C. Section 174 and 26 U.S.C. Section 4704(a) first applied to cocaine in 1922 when cocaine was declared a narcotic drug. 42 Stat. 596 (1922). The 21 U.S.C. Section 176a presumption was enacted in 1956, 70 Stat. 570 (1956)
      
      
        8
         Turner was arrested in June of 1967 and tried in late 1967 or early 1968
      
      
        9
         Roberts v. Russell, 392 U.S. 293, 88 S.Ct. 1921, 20 L.Ed.2d 1100 (1968); DeStefano v. Woods, 392 U.S. 631, 88 S.Ct. 2093, 20 L.Ed.2d 1308 (1968); McConnell v. Rhay, 393 U.S. 2, 89 S.Ct. 32, 21 L.Ed.2d 2 (1968); Arsenault v. Massachusetts, 393 U.S. 5, 89 S.Ct. 35, 21 L.Ed. 2d 5 (1968); Berger v. California, 393 U.S. 314, 89 S.Ct. 540, 21 L.Ed.2d 508 (1969). See also Witherspoon v. Illinois, 391 U.S. 510, 88 S.Ct. 1770, 20 L.Ed.2d 776 (1968), where the Court gave that decision retrospective effect in a footnote, and North Carolina v. Pearce, 395 U.S. 711, 89 S.Ct. 2089, 23 L.Ed.2d 656 (1969), where the Court granted retrospective effect to Benton v. Maryland, 395 U.S. 784, 89 S.Ct. 2056, 23 L.Ed.2d 707 (1969) without stating its reasoning at all
        In Fuller v. Alaska, 393 U.S. 80, 89 S.Ct. 61, 21 L.Ed.2d 212 (1968) and Halliday v. United States, 394 U.S. 831, 89 S.Ct. 1498, 23 L.Ed.2d 16 (1969), retrospective effect was denied to non-constitutional rulings in brief Per Curiams.
      
      
        10
         See United States v. Scott, 425 F.2d 55, 62 (9th Cir. 1970) (in banc) (dissenting opinion of Judge Trask); United States ex rel. Romano v. Fay, 360 F.2d 389 (2d Cir. 1966), cert. denied, Romano v. Follette, 385 U.S. 1020, 87 S.Ct. 725, 17 L.Ed.2d 557 (1967); In re Gaines, 63 Cal.2d 234, 45 Cal.Rptr. 865, 404 P.2d 473 (1965); In re Lopez, 62 Cal.2d 368, 42 Cal.Rptr. 188, 398 P.2d 380 (1965), cert. denied, 384 U.S. 1016, 86 S.Ct. 1929, 1930, 16 L.Ed.2d 1038 (1966); Ruark v. People, 158 Colo. 110, 405 P.2d 751 (1965), cert. denied, 384 U.S. 1019, 86 S.Ct. 1955, 16 L.Ed.2d 1042 (1966); People v. Worley, 37 Ill.2d 439, 227 N.E.2d 746 (1967); Arsenault v. Commonwealth, 353 Mass. 575, 233 N.E.2d 730, rev'd, 393 U.S. 5, 89 S.Ct. 35, 21 L.Ed.2d 5 (1968); People v. Sayers, 22 N.Y.2d 571, 293 N.Y.S.2d 769, 240 N.E.2d 540 (1968), cert. denied. 395 U.S. 970, 89 S.Ct. 2107, 23 L.Ed.2d 759 (1969); Commonwealth v. Negri, 419 Pa. 117, 213 A.2d 670 (1965).
      
      
        11
         See Haddad, "Retroactivity Should Be Rethought": A Call for the End of the Linkletter Doctrine, 60 J.Crim.L., C. &amp; P.S. 417 (1969); Mishkin, The Supreme Court, 1964 Term — Foreword: The High Court, the Great Writ, and the Due Process of Time and Law, 79 Harv.L. Rev. 56 (1965); Schaefer, The Control of "Sunbursts": Techniques of Prospective Overruling, 42 N.Y.U.L.Rev. 631 (1967); Schwartz, Retroactivity, Reliability, and Due Process: A Reply to Professor Mishkin, 33 U.Chi.L.Rev. 719 (1966); The Supreme Court, 1965 Term. 80 Harv.L.Rev. 123, 135 (1966); Note, Retroactivity of Criminal Procedure Decisions, 55 Iowa L.Rev. 1309 (1970); Note, Retroactivity of Constitutional Decisions, 41 Notre Dame Law. 206 (1965); Comment, Constitutional Rules of Criminal Procedure and the Application of Linkletter, 16 J.Pub.L. 193 (1967); Comment, Linkletter, Shott, and the Retroactivity Problem in Escobedo, 64 Mich.L. Rev. 832 (1966); Comment, The Retroactivity of Benton v. Maryland, 1969 U. Ill.L.F. 517
      
      
        12
         Cardozo, The Nature of the Judicial Process, 149 (1921)
      
    
    